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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS

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                                              )
IN RE YASMIN AND YAZ                          )       3:09-md-02100-DRH-PMF
(DROSPIRENONE) MARKETING, SALES               )
PRACTICES AND PRODUCTS LIABILITY              )       MDL No. 2100
LITIGATION                                    )
_____________________________________________ )

This Document Relates to:

ALL CASES

______________________________________________________________________________

                         CASE MANAGEMENT ORDER NO. 25

               At the status conference on October 12, 2010, the Court directed

Plaintiffs to turn over medical records in the possession of Plaintiffs’ counsel to

Defendants. Accordingly, the Court hereby Orders as follows:

               Unless there is an objection with regard to the relevancy of a

particular record, Plaintiffs are ORDERED to turn over medical records, in the

possession of Plaintiffs’ counsel, to Defendants within 7 days of the date of this

Order.

       SO ORDERED:

/s/   DavidRHerndon

Chief Judge
United States District Court                          DATE: October 13, 2010
